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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA



UNITED STATES OF AMERICA,                           )
                                                    )      3:08-cr-00017-LRH-WGC
                      Plaintiff,                    )
                                                    )      MINUTE ORDER
vs.                                                 )
                                                    )      December 22, 2011
GERARDO A. CRUZ-CASTRO, et al.,                     )
                                                    )
                      Defendants.                   )
                                                    )

PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK: NONE APPEARING                        REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                     NONE APPEARING
COUNSEL FOR DEFENDANT(S):                    NONE APPEARING
MINUTE ORDER IN CHAMBERS:

       Defendant Gerardo A. Cruz having filed a 28 U.S.C. § 2255 Petition (#132) and a
response by the Government appearing warranted,

        IT IS HEREBY ORDERED that a responsive pleading shall be filed by the Government
within 45 days of entry of this Order, a reply may be filed by the Defendant within 15 days
following the Government’s response, and the matter will be submitted to the court for decision
or other appropriate action.

                                            LANCE S. WILSON, CLERK

                                            By:            /s/
                                                        Deputy Clerk
